 

Case 6:99-cv-OOll7-PGB-KRS Document 383 Filed 09/23/04 Page 1 of 1 Page|D 2508

UNITED STATES DISTRICT COURT
MlDDLE DISTRICT OF FLORIDA

 

 

ORLANDO DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,

v. Case No. 6:99-CV-117-ORL-22KRS

DONNA YUN and JERRY
BURCH,

Defendants.

/
AMENDED JUDGMENT IN A CIVIL CASE

Decision by Court. This action came before the court. The issues have been heard and a
decision has been rendered

IT IS ORDERED AND ADJUDGED

that Judgment is entered in favor of the Plaintiff, the Securities and Exchange
Commission, and against the Defendants, Donna Yun and Jerry Burch, as follows:
this Judgment provides for DISGORGEM ENT in the amount of $269,000 against the
Defendants, Donna Yun and Jerry Burch, jointly and severally; this Judgment
provides for PREJUDGMENT INTEREST in the amount of $1 88,805.72, Which is
calculated pursuant to 26 U.S.C. § 6621 from February 21, 1997 to the entry date of
judgment, against the Defendants, Donna Yun and Jerry Burch, jointly and several ly;
this Judgrnent provides forPOSTIUDGMENT INTEREST calculated pursuant to 28
U.S.C. l96l(a) at a rate of 2.03% from the entry date of judgment against the
Defendants, Donna Yun and Jerry Burch, jointly and severally; this Judgment
provides that disgorgement and interest shall be paid by certified check or money
order to the Clerk of the Court; this Judgment provides for a CIVIL PENALTY in the
amount of $ l 00,000 against the Defendant, Donna Yun; this Judgment provides for
a CIVIL PENALTY in the amount of $IO0,000 against the Defendant, Jerry Burch;
this Judgment provides that the civil penalties shall be paid by certified check or
money order made payable to The Comptroller, Securities and Exchange
Commission, and delivered to the Office ot` the Comptroller, Securities and Exchange
Commission, 450 5‘h Street, N.W., Mail-Stop 3-3, Washington, DC 20549. The
disgorgement with interest and civil penalties shall be paid within ten days of entry
of this judgement.

Dare; °t{‘LR|O§ sHERYL L.LOESCH,CLERK
By w/

R. Olsen, Deputy Clerk

